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          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
7                                            CALIFORNIA
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11
     THE UNITED STAES OF AMERICA                     Case Number: 2:17-CR-000162 TLN
12   V.

13                                                   FINDINGS AND ORDER SEALING
                                                     DEFENDANT'S REQUEST TO SEAL AND
     JAKE PHILIP JINES
14                                                   SENTENCING BRIEF

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20          Having considered the Defendant's Request to Seal, Competency Brief and

21   accompanying exhibits, Local Rule 141(b) and the considerations set forth in the case of

22   Oregonian Publishing Co. v. United States District Court for the District of Oregon, 920 F.2d
23
     1462, 1466 (9th Cir. 1990) .
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     THE COURT HEREBY FINDS THAT:
1
             1. Defendant's privacy interest in his San Joaquin County Social Services records in
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3    summary form contained in the Client History and right to effective assistance of counsel are

4    compelling interests;

5            2. In the absence of sealing these compelling interests would be harmed;

6            3. There are no alternatives to sealing that would adequately protect those compelling
7    interests.
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             Therefore, IT IS ORDERED THAT Defendant's Client History and Request to Seal be
9    filed under seal
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     DATED: November 22, 2019
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                                                            Troy L. Nunley
13                                                          United States District Judge

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